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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT J. KRAUS and                   :         CIVIL ACTION
MARGARET M. KRAUS, h/w                :
                                      :
       v.                             :
                                      :
ALCATEL-LUCENT, ALLEN-BRADLEY :
COMPANY, AMETEK, INC., BBC BROWN :
BOVERI, k/n/a ABB, Inc., BELDEN WIRE :
& CABLE COMPANY, LLC, CBS             :
CORPORATION, formerly known as        :
Westinghouse Electric Corporation,    :
CLARK CONTROLLER CO., ESPEY           :
MANUFACTURING & ELECTRONICS           :
CORP., FORD MOTOR CO., GENERAL :
DYNAMICS, GENERAL ELECTRIC            :
COMPANY, GOULD ELECTRONICS,           :
INC., GTE PRODUCTS OF                 :
CONNECTICUT CORPORATION,              :
HONEYWELL INTERNATIONAL,              :
HONEYWELL, INC., IMO INDUSTRIES, :
INC., formerly known as DeLaval Steam :
Turbine Company, ITT INDUSTRIES,      :
L-3 COMMUNICATIONS, LOCKHEED          :
MARTIN CORPORATION SERVICE            :
COMPANY, METROPOLITAN LIFE            :
INSURANCE CO., MINNESOTA MINING :
AND MANUFACTURING, MOTOROLA           :
SOLUTIONS, NAVCOM DEFENSE             :
ELECTRONICS, NORTHROP GRUMMAN :
NORDEN SYSTEMS, NORTHROP              :
GRUMMAN CORPORATION, PHILIPS          :
NORTH AMERICA, LLC, RAYTHEON,         :
ROCKBESTOS CO., ROCKWELL              :
COLLINS, INC., ROGERS                 :
CORPORATION, SPACE SYSTEMS/           :
LORAL, SQUARE D COMPANY, UNISYS :
and UNITED TECHNOLOGIES               :         NO. 18-2119

                                      ORDER

      NOW, this 22nd day of January, 2020, several defendants having filed motions to

preclude expert testimony, it is ORDERED that any party requesting a hearing on the
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motions seeking to preclude the expert testimony of Harvey Spector, Arthur L. Frank, or

Arthur W. Faherty shall file a notice of request for such a hearing no later than January

28, 2020.

      IT IS FURTHER ORDERED that the party or parties requesting a hearing shall

bear the cost of the expert’s appearing at the hearing.



                                  /s/ TIMOTHY J. SAVAGE J.




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